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                               UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF CALIFORNIA
                                            PROBATION OFFICE
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                                                San Jose, CA 95113-3002
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YADOR J. HARRELL                                                                                     JAMES SCHLOETTER
CHIEF U.S. PROBATION OFFICER                                                                       ADMINISTRATIVE MANAGER

VERONICA RAMIREZ                                                                                            NOEL BELTON
DEPUTY CHIEF U.S. PROBATION OFFICER                                                ASST. DEPUTY CHIEF U.S. PROBATION OFFICER




                                                  April 27, 2018

      The Honorable Joseph C. Spero
      Chief United States Magistrate Judge

      Re: U.S. v. Matthew Brandes Brinkerhoff
          Docket No: 0971 3:16CR00318-001 JCS
          TRAVEL REQUEST

      Your Honor:

      On August 11, 2017, the offender was sentenced by Your Honor to three years probation, for a
      violation of the following: Count One: Protection of Property Occupied by Foreign
      Governments, 18 U.S.C. § 970(b)(1)(A), a Class B Misdemeanor. The following special
      conditions of supervision were ordered: $10 special assessment; $500 fine; testing and treatment
      for alcohol abuse; abstain from all alcoholic beverages. Supervision commenced on August 11,
      2017.

      Mr. Brinkerhoff is requesting permission to travel to George Town, Cayman Islands, from May
      23, 2018 to June 3, 2018, for a friend’s wedding. Mr. Brinkerhoff has paid his special assessment
      and fine in full. He is also in compliance with all other conditions of supervision. This will be
      his first international travel request while on supervised release.

      It is recommended travel be approved. It is also requested the Court provide the probation office
      with the discretion to approve any changes in travel dates, if necessary.

      Respectfully submitted,                                Reviewed by:




      ___________________________________                    ___________________________________
      Amy Rizor                                              Veronica Ramirez
      Supervisory U.S. Probation Officer                     Deputy Chief U.S. Probation Officer




                                                                                 NDC-SUPV-FORM-046 06/01/2015
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RE:    Brinkerhoff, Matthew Brandes                                              2
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Travel is:
☒ Approved
☐ Denied




April 27, 2018                          ___________________________________
Date                                    Joseph C. Spero
                                        Chief United States Magistrate Judge




                                                         NDC-SUPV-FORM-046 06/01/15
